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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                    Plaintiff,

                      –v.–                          Case No. 1:22-cv-2292

PETER K. NAVARRO,

                   Defendant.



     UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION FOR A STAY
                           PENDING APPEAL

                                        INTRODUCTION

       This Court correctly rejected Defendant’s efforts to avoid returning presidential records

to their rightful owner, the United States. In so doing, the Court determined that it was

undisputed that Dr. Navarro was a covered employee under the Presidential Records Act (“PRA”).

The United States, therefore, “‘retain[s] complete ownership, possession, and control of Presidential

records’ generated or received by him in the course of assisting with the discharge of the President’s

official duties.” See Memorandum Opinion (March 9, 2023) (ECF #16) (“Mem. Op.”) at 3, citing

44 U.S.C. §§ 2201(2).      The Court dismissed Defendant’s argument that the PRA cannot be

judicially enforced, or that it provided no timeline by which the United States can take

possession of presidential records. The Court also gave short shrift to the “circular[ ]” and
“novel” argument that the United States cannot rely on Section 2209 of the PRA because no court

has yet interpreted it, as well as to the claim that replevin was either unavailable or was somehow

defeated by an inapt “act of production” privilege. Mem Op. at 10-21. In the end, the Court ordered

the presidential records in Dr. Navarro’s possession to be produced “forthwith.” Order and Judgment

(March 9, 2023) (ECF #15), a directive with which Defendant did not comply.
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            Defendant presents no new arguments in his motion to stay. His merits arguments rest

primarily on his prior contentions of “statutory ambiguity” and “lack of precedent.” Defendant’s

Motion for Stay (ECF #18) (“Def. Mot.”) at 5. The only addition, by implication, is Defendant’s

suggestion that because the District of Columbia is not a state, but rather a “Federal District,” its laws

cannot be applied by this Court. Def. Mot. at 1, 3, 6. Such an argument is plainly frivolous. This

Court should reject it and reaffirm that Defendant is not likely to succeed on the merits of his

position.

        Defendant further contends that a stay is warranted because he will be irreparably harmed

if he cannot retain records owned by the United States. But that cannot be. Dr. Navarro, as this

Court found, has no possessory right to the records; he does not own the records; and he was

statutorily obligated to have incorporated them into the White House records system within

twenty days of creation, which he concededly did not do. Defendant cannot be irreparably

harmed by producing documents he has no right to possess in the first place. Finally, the public

interest weighs heavily in favor of the United States having a complete record of every

presidential administration, and against individual employees flouting their obligations under the

PRA. Accordingly, the Court should deny the motion for a stay pending appeal, and supervise

the immediate return of the records already ordered to be produced.

                                     STANDARD OF REVIEW

        A stay pending appeal is an “extraordinary remedy,” Cuomo v. U.S. Nuclear Regul.

Comm’n, 772 F.2d 972, 978 (D.C. Cir. 1985), not issued as “a matter of right.” Nken v. Holder,

556 U.S. 418, 427 (2009). The moving party must demonstrate that relief is warranted based on

consideration of (1) whether the applicant has made a strong showing that he is likely to succeed

on the merits of the appeal; (2) whether the applicant will be irreparably harmed absent a stay;

(3) whether issuance of a stay will substantially injure other parties; and (4) where the public

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interest lies. Nken, 566 U.S. at 433-34. When the government is a party, its “harm and the

public interest are one and the same, because the government’s interest is the public interest.”

Id. at 435; Pursuing America’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016).

        “It is not enough that the chance of success on the merits [is] better than negligible.

Instead, it must be ‘substantial[.]’” Washington Metro. Area Transit Comm'n v. Holiday Tours,

Inc., 559 F.2d 841, 843 (D.C. Cir. 1977). Indeed, a party seeking a stay pending appeal must

“raise[ ] questions going to the merits so serious, substantial, difficult[,] and doubtful, as to make

them a fair ground for litigation and thus for more deliberative investigation.” Id. at 844 (internal

quotation marks and citation omitted). See also Citizens for Responsibility & Ethics in

Washington v. Fed. Election Comm'n, 904 F.3d 1014, 1019 (D.C. Cir. 2018) (per curiam) (a

movant's failure to satisfy the stringent standard for demonstrating a likelihood of success on the

merits is “an arguably fatal flaw for a stay application”).

        Here, the likelihood of success factor weighs heavily against the entry of a stay pending

appeal, as does each of the other factors.

                                             ARGUMENT

   I.      DEFENDANT IS UNLIKELY TO SUCCEED ON THE MERITS

        Defendant insists that he is likely to succeed on the merits of his appeal because “this

matter is a matter of first impression,” which alone justifies a stay. Def. Mot. at 9. That

argument fails for numerous reasons. As an initial matter, Defendant errs in asserting, id.at 2,

that matters of first impression are subject to a less rigorous application of the traditional Nken

factors. Nor did the district court in McGahn so hold. That court was describing differences

between the stay request before it, which it denied, and a similar request that was granted in an

earlier case (Miers). The Court noted that, among other factors, the legal issue presented in



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Miers was at the time an issue of first impression. Comm. on the Judiciary v. McGahn, 407 F.

Supp. 3d 35, 38–39 (D.D.C. 2019). Then-Judge Jackson stressed, however, that with respect to

the first Nken factor – likelihood of success on the merits – the traditional analysis applied

regardless, and that an applicant for a stay must still present an issue that “raises questions going

to the merits so serious, substantial, difficult[,] and doubtful, as to make them a fair ground for

litigation and thus for more deliberative investigation.” McGahn, 407 F. Supp. 3d at 38–39

(D.D.C. 2019), quoting Wash. Metro. Area Transit Comm'n v. Holiday Tours, Inc., 559 F.2d at

844 (D.C. Cir. 1977). Even were this matter one of “first impression” (which it is not, as

described infra), a question that is neither serious nor substantial would nevertheless fail the first

factor.

          Defendant next errs in describing the instant case – a replevin action to recover

presidential records – as a matter of first impression. Although not a widespread practice for

obvious reasons (ie., most covered employees comply with their PRA responsibilities without

court action), this case is not the first. See, e.g., United States v. McElvenny, 02-cv-3027, 2003

WL 1741422, at*1 (S.D.N.Y. Apr. 1, 2003) (seeking a writ of replevin for map of Cuba bearing

notations made by President John F. Kennedy during the Cuban Missile Crisis and a collection of

President Kennedy’s papers regarding federal involvement in the integration of the University of

Mississippi). To make this action appear unique, Defendant characterizes it as “the first time

ever” that the United States has used replevin to recover presidential records “through the laws

of the District of Columbia – not even a State.” Def. Mot. at 1 (emphasis added). But to suggest

that the laws of the District of Columbia do not constitute state law is truly frivolous, and

contrary to both the Federal Rules and centuries of jurisprudence applying the laws of the

District of Columbia. See Fed. R. Civ. P. 81(d)(2) (defining “state” to include the District of



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Columbia.”); Busby v. Elec. Utilities Emps. Union, 323 U.S. 72, 73–74 (1944) (describing the

Act of Feb. 27, 1801, 2 Stat. 103, and early cases relying on District of Columbia law). There is

nothing unique about federal courts applying the laws of the District of Columbia where state

law appropriately applies.

       Finally, despite his best efforts to characterize this matter as a war between the “doctrine

of federalism and private property rights,” Def. Mot. at 3, the issues presented here are neither

about federalism nor private rights. 1 Nor are they “difficult” or “doubtful.” Wash. Metro. Area

Transit Comm'n, 559 F.2d 841 at 843 (D.C. Cir. 1977). Indeed, they are straightforward and

easily resolved. There is, for example, no issue of “private property rights.” Dr. Navarro freely

concedes that under the PRA, ownership of presidential records rests with the United States. See

Def. Statement of Mat. Facts No. 12 (“12. The United States “retain[s] complete ownership,

possession, and control of Presidential records.” 44 U.S.C. § 2202. a. Undisputed”). 2 Nor does

Defendant contend that the United States is imposing PRA obligations on a State. And for his

part, he does not dispute that he currently retains presidential records, and that he has refused to

return them to the United States. Declaration of William J. Bosanko, ¶ 9. What remains are

plainly unmeritorious contentions that (1) Defendant need not return the records because the

PRA does not expressly provide an enforcement mechanism for their recovery, and (2) the PRA



1
  Defendant’s reliance on Alabama Association of Realtors, et al v. Dept. of Health and Human
Services, et al., 141 S. Ct. 2485 (2021), is inapt. The United States cannot plausibly be said here
to have “significantly alter[ed] the balance between federal and state power and the power of the
Government over private property.” Alabama Ass'n of Realtors, 141 S. Ct. at 2489. To the
contrary, the United States has petitioned in federal court for a common writ of replevin to
recover property it rightfully owns, see Mem. Op. at 17-19, and no private property is involved.

2
 Defendant disagrees with the Court’s conclusion that there remain no genuine issues of material
fact, Def. Mot. at 6, but he never identifies what fact is in dispute, nor does he address the
Court’s detailed treatment of the parties’ statements of material facts not in dispute. Mem. Op. at
6-9.
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provides no statutory deadline for recovering documents from former employees who flouted the

PRA’s deadlines while employed by the White House. Def. Mot. at 4-6.

        The Court comprehensively addressed each of these meritless arguments and rejected

them. See Mem. Op. at 12-16. As the Court succinctly summarized, the “clear record and

undisputed fact that [Defendant] created or received the emails on his private email account

relating to and while preforming duties for the administration, and neither included them in his

official emails nor returned them to NARA upon request, therefore wrongfully detaining them, is

the sole relevant inquiry.” Mem. Op. at 20. In short, Dr. Navarro posits no argument that the

Court has not already correctly rejected. He is therefore unlikely to succeed on the merits of his

appeal, a factor that weighs heavily against a stay pending appeal.

   II. DEFENDANT HAS NOT MADE A SHOWING OF IRREPARABLE HARM

       Defendant’s motion for stay pending appeal must also be denied because he has not made

a showing of irreparable harm. To show the irreparable harm required to obtain a stay, the

movant must “demonstrate injury that is ‘both certain and great, actual and not theoretical,

beyond remediation, and of such imminence that there is a clear and present need for equitable

relief to prevent irreparable harm.’” Soundboard Ass’n v. FTC, 254 F. Supp. 3d 7, 13 (D.D.C.

2017) (quoting Mexichem Specialty Resins, Inc. v. EPA, 787 F.3d 544, 555 (D.C. Cir. 2015)); see

also Schindler Elevator Corp v. WMATA, 2021 WL 663191, at *2 (D.D.C. Feb. 19, 2021).

Defendant previously failed to make any such showing, see Mem. Op. at 15-17 (rejecting

purported Fifth Amendment privilege and argument that he can unilaterally delay production),

and he has not done so in his request for a stay pending appeal.




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       Defendant argues, as he did before, that “production of such records could potentially

incriminate him in future criminal actions.” Def. Mot. at 7. But, as before, he never identifies

why such production would incriminate him; “[h]e merely says so.” Mem. Op. at 16. Further,

Defendant argues that he is irreparably harmed because the Court’s order “compels the

production of records which cannot thereafter be returned.” Def. Mot. at 7. This argument is

particularly puzzling, because Dr. Navarro has already conceded that the records at issue are

owned solely by the United States, not by him. Accordingly, he has no possessory right to the

retain the presidential records, and he cannot possibly be irreparably harmed by relinquishing

that which he has no right to possess. And in the unlikely event the court of appeals concludes

that Defendant was not obligated to return records that concededly belong to the United States

(or was permitted to return them at his leisure), the records could be returned to him. The

irreparable harm factor therefore weighs heavily against a stay pending appeal.

III.   THE PUBLIC INTEREST FAVORS THE IMMEDIATE RETURN OF THE
       PRESIDENTIAL RECORDS
       Defendant argues that the United States, and thus the public, is only “minimally affected”

by Dr. Navarro retaining the presidential records he admittedly has until “Dr. Navarro’s rights

are ensured as protected.” Def. Mot. at 8. But Defendant has never explained how his rights are

affected by returning the records, and the public interest plainly lies in ensuring that the historical

record of the prior administration is complete. As the government detailed in the declaration of

William J. Bosanko, and which Defendant does not contest, representatives from the National

Archives for over a year attempted to work cooperatively with Dr. Navarro, to no avail. And Dr.

Navarro freely concedes that he failed to comply with the applicable deadlines for managing

presidential records while he worked at the White House – he failed to incorporate the records

into his government recordkeeping system within twenty days of their creation, and he failed to

provide them to NARA at the end of the administration. Indeed, some 26 months after the end of

the prior administration, Defendant has yet to return any of the PRA materials that he has

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unlawfully retained. The public interest clearly lies in effectuating the purposes of the PRA and

immediately securing the presidential records in Defendant’s possession.

        Defendant is also incorrect when he argues that the presidential records of the prior

administration are currently restricted under the PRA, and therefore only relevant to the public

after twelve (now ten) years. Def. Mot. at 8. It is in the public interest that the presidential

records be in the custody of the National Archives now for safekeeping, and to ensure that the

records are appropriately screened, catalogued, and preserved. Moreover, special requests for

access to restricted presidential records can be made at any time during the restricted period, see

44 U.S.C. § 2205. Currently, the records in Defendant’s possession are missing from the

collection of presidential records to which special access requesters are now entitled. That alone

is contrary to the public interest.

                                             * * *

        As Dr. Navarro can satisfy none of the Nken factors necessary to obtain a stay pending

appeal, his motion for a stay should be swiftly denied. In addition, the Court should take all

necessary steps to compel compliance with the Court’s two-week old order that the documents at

issue be produced “forthwith, 3” and that the parties work expeditiously to identify and return

additional presidential records Defendant may have.




3
  Counsel for the government emailed Defendant’s counsel twice in an effort to obtain
compliance, once immediately following the Court’s order, and again last week.
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                                      CONCLUSION

       The United States respectfully requests that Defendant’s Motion for Stay Pending Appeal

be denied.


Dated: March 25, 2023
                                              Respectfully submitted,

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